

Matter of Xiaoyu Li (2020 NY Slip Op 02361)





Matter of Xiaoyu Li


2020 NY Slip Op 02361


Decided on April 23, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 23, 2020

PM-65-20

[*1]In the Matter of Xiaoyu Li, Also Known as Isabel X. Li, an Attorney. (Attorney Registration No. 5261573.)

Calendar Date: April 13, 2020

Before: Egan Jr., J.P., Lynch, Clark, Mulvey and Colangelo, JJ.


Xiaoyu Li, Chicago, Illinois, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Xiaoyu Li was admitted to practice by this Court in 2014 and lists a business address in Chicago, Illinois with the Office of Court Administration. Li now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Li's application.
Upon reading Li's affidavit sworn to January 21, 2020 and filed January 27, 2020, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Li is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Lynch, Clark, Mulvey and Colangelo, JJ., concur.
ORDERED that Xiaoyu Li's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Xiaoyu Li's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Xiaoyu Li is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Li is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Xiaoyu Li shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








